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Attorneys for Defendant-Intervenors

                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

AMERICAN FOREST RESOURCE COUNCIL,                             ) Case No. 12-111-JDB
CARPENTERS INDUSTRIAL COUNCIL, and                            )
DOUGLAS COUNTY, OREGON,                                       )
                                                              )
                       Plaintiffs,                            )
                                                              )
       vs.                                                    )
                                                              )
DANIEL M. ASHE, Director, U.S. Fish and Wildlife              )
Service, and KEN SALAZAR, Secretary of Interior,              )
                                                              )
                       Defendants,                            )
                                                              )
       and                                                    )
                                                              )
AUDUBON SOCIETY OF PORTLAND, SEATTLE                          )
AUDUBON SOCIETY, CENTER FOR BIOLOGICAL                        )
DIVERSITY, OREGON WILD, CONSERVATION                          )
NORTHWEST, ENVIRONMENTAL PROTECTION                           )
INFORMATION CENTER, and SIERRA CLUB,                          )
                                                              )
                       Defendant-Intervenors.                 )
                                                              )

    DEFENDANT-INTERVENORS’ MOTION FOR LEAVE TO FILE A SURREPLY

       Defendant-intervenors Audubon et al. respectfully ask this Court for leave to file a

surreply to the plaintiffs’ and federal defendants’ replies in support of their joint motion for entry

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of consent decree. Pursuant to LCvR7(m), Audubon’s counsel has conferred with plaintiffs’ and

federal defendants’ counsel. Counsel for plaintiffs’ American Forest Resource Council

(“AFRC”) states that plaintiffs cannot take a position on the motion until they have a chance to

review the surreply brief. Counsel for federal defendants U.S. Fish and Wildlife Service et al.

(FWS) states that FWS opposes the motion.

       A surreply is appropriate where a party needs the opportunity to contest matters

introduced for the first time in an opposing party’s reply brief. See United States ex rel. Pogue v.

Diabetes Treatment Ctrs. of Am., Inc., 238 F. Supp. 2d 270, 276-77 (D.D.C. 2002) (“The

standard for granting leave to file a surreply is whether the party making the motion would be

unable to contest matters presented to the court for the first time in the opposing party’s reply.

The matter must be truly new.”) (internal citation and quotation omitted). AFRC and FWS have

separately filed lengthy replies to Audubon’s opposition to their joint motion for entry of consent

decree. Their replies—many pages longer than their joint opening memorandum in support—

primarily address the jurisdictional issues raised in the first instance by Audubon in its

opposition. See AFRC Reply at 1-24; FWS Reply at 1-8. Because these issues were not initially

discussed in the joint opening brief, Audubon has had no opportunity to respond to AFRC’s and

FWS’s arguments in the ordinary course of briefing. As the jurisdictional questions go to the

heart of the Court’s ability to review and approve the consent decree, Audubon needs the

opportunity to respond to AFRC’s and FWS’s positions.

       Audubon’s surreply is attached as Exhibit A, and Audubon asks for the opportunity to

submit this response to ensure that the issues associated with this motion are as clear as possible.




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    Respectfully submitted this 28th day of September, 2012.



                                 s/ Kristen L. Boyles
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                                 Portland, Seattle Audubon Society, Center for Biological
                                 Diversity, Oregon Wild, Conservation Northwest,
                                 Environmental Protection Information Center, and Sierra
                                 Club




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                                  CERTIFICATE OF SERVICE

       I am a citizen of the United States and a resident of the State of Washington. I am over

18 years of age and not a party to this action. My business address is 705 Second Avenue, Suite

203, Seattle, Washington 98104.

       On September 28, 2012, I served a true and correct copy of:

       1.       Defendant-Intervenors’ Motion for Leave to File a Surreply, including Exhibit A:
                Defendant-Intervenors’ Surreply in Opposition to Consent Decree; and
       2.       [Proposed] Order Granting Defendant-Intervenors’ Motion for Leave to File
                Surreply.

on the parties listed below:

Mark C. Rutzick
12402 Myra Virginia Court                                      via overnight mail
Oak Hill, VA 20171                                             via first-class U.S. mail
(703) 870-7347 | Phone and Fax                                 via Court ECF system
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Attorney for Plaintiffs

Meredith L. Flax
U.S. Department of Justice                                     via overnight mail
Environment & Natural Resources Division                       via first-class U.S. mail
Wildlife and Marine Resources Section                          via Court ECF system
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Attorney for Federal Defendants


       I, Catherine Hamborg, declare under penalty of perjury that the foregoing is true and

correct. Executed on this 28th day of September, 2012, at Seattle, Washington.




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